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              EXHIBIT C
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From:             Vincent Russo
To:               Cary Ichter; Josh Belinfante; cheryl.ringer@fultoncountyga.gov
Cc:               Bruce Perrin Brown Esq. (bbrown@brucepbrownlaw.com); Robert McGuire; John Powers; Bryan P. Tyson; Cross,
                  David D.
Subject:          RE: Curling/Coalition v. Raffensperger
Date:             Tuesday, November 26, 2019 5:22:38 PM
Attachments:      image003.png


Cary,

Thanks for your email and providing the Q&A document from October 30, 2019. To our knowledge,
none of the old voting equipment has been destroyed. Additionally, while the particular Q&A that
you referenced has limited context, there is no indication that any voting equipment has been
destroyed. Regardless, we think the Court’s involvement would be helpful and plan to raise it in
State Defendants’ response to Plaintiffs’ Request for Status Conference.

Please let us know if you would like to discuss this further.

Thanks,

Vincent

Vincent R. Russo |404.856.3260 |


From: Cary Ichter <CIchter@IchterDavis.com>
Sent: Tuesday, November 26, 2019 10:19 AM
To: Josh Belinfante <Josh.Belinfante@robbinsfirm.com>; Vincent Russo <vrusso@robbinsfirm.com>;
cheryl.ringer@fultoncountyga.gov
Cc: Bruce Perrin Brown Esq. (bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>;
Rob McGuire <ram@lawram.com>; John Powers <jpowers@lawyerscommittee.org>; Bryan P. Tyson
<btyson@taylorenglish.com>; Cross, David D. <DCross@mofo.com>
Subject: RE: Curling/Coalition v. Raffensperger

Forgot the attachment.

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        Case 1:17-cv-02989-AT Document 675-3 Filed 12/05/19 Page 3 of 5



From: Cary Ichter
Sent: Tuesday, November 26, 2019 10:13 AM
To: Josh Belinfante <Josh.Belinfante@robbinsfirm.com>; Vincent Russo <vrusso@robbinsfirm.com>;
cheryl.ringer@fultoncountyga.gov
Cc: Bruce Perrin Brown Esq. (bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>;
Rob McGuire <ram@lawram.com>; John Powers <jpowers@lawyerscommittee.org>; Bryan P. Tyson
<btyson@taylorenglish.com>; Cross, David D. <DCross@mofo.com>
Subject: Curling/Coalition v. Raffensperger

Vincent, Josh and Cheryl:

I trust you have seen and read the Court’s November 25, 2019 Order regarding, among other
things, ongoing preservation requirements of the DRE related equipment and electronic records.
We want to highlight the following language:

       “State Defendants have represented that as the BMDs are deployed, DREs and the existing
       GEMS components will be removed from counties and preserved by the State and stored by
       a vendor. (Doc. 616 at 4.) Consistent with this representation, the Court ORDERS the State
       Defendants to preserve all GEMS servers, DREs, memory cards, AccuVote scanners, and
       Express Poll books until further order of the Court in the event a forensic examination is
       deemed necessary at some point for purposes of this litigation.”

Additionally, please note Bruce Brown’s September 17, 2019 email, reminding Defendants of their
preservation duties.

       From: Bruce Brown <bbrown@brucepbrownlaw.com>
       Date: September 17, 2019 at 12:39:34 PM EDT
       To: "kaye.burwell@fultoncountyga.gov" <kaye.burwell@fultoncountyga.gov>,
       "btyson@taylorenglish.com" <btyson@taylorenglish.com>, "DCross@mofo.com"
       <DCross@mofo.com>, "AUhler@mofo.com" <AUhler@mofo.com>, "ram@lawram.com"
       <ram@lawram.com>
       Subject: Duty to Preserve

       Kaye and Bryan,

       This is reminder to Fulton County and the Secretary that all the election equipment -
       without limitations, DREs, databases, epollbooks, memory cards, printers, etc. - used in
       today’s and every other election constitute evidence and must be preserved.

       Many thanks,
       Bruce Brown

It appears that, notwithstanding the many admonitions of the Court and the Plaintiffs, the State is
continuing to ignore its preservation duties as set forth in multiple Court orders to preserve the
DRE system equipment and electronic records. For example, see the attached correspondence
between the State and the local election officials where the State acknowledges its effort to destroy
the equipment and instructing counties desiring to keep their Diebold/ GEMS equipment to
destroy it. See page 21/62, where a county asks if they may keep equipment, and on October 30,
the State responds, “Yes, but you will have to destroy them and pay for that on your own, We are
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willing to take the equipment and destroy it for free.”

Frankly, this is beyond shocking. We believe that we need to seek the Court’s intervention, given
the repeated and ongoing violations of preservation orders and duties. Before we take that step,
we would like to communicate with you regarding what is being preserved and what has been
destroyed. It is our understanding from the correspondence we have received in response to Open
Records Requests that a contractor has been engaged to collect the GEMS/Diebold system
components. We request that you provide us with the details of that arrangement. Additionally, we
have the following preliminary questions. Your answers would facilitate an informed discussion:

   1. What preservation instructions have been given to the contractor?
   2. What preservation instructions have been given to County officials?
   3. What electronic records relating to, and equipment used in the elections since July 3,
      2017, have not been preserved?
   4. What is the location of the contractor’s storage of the equipment?
   5. What records of the inventory of retired election equipment is being maintained, and
      who maintains it?
   6. Has the contractor disposed of or destroyed any of the equipment or related electronic
      records, including internal memories of the DREs or hard drives of the servers?
We are requesting a physical inspection of the contractor’s storage facility for the preserved
equipment and a copy of any inventory records of retired equipment. Please let us know how that
can be arranged. We will be available on December 4,5 or 6th for such an inspection.

We cannot emphasize enough that we take the preservation of these records seriously and must
use all means at our disposal to insist on your clients’ full compliance. We hope you adopt the
same attitude. Your client apparently has not.
Thank you for your attention to this matter. We look forward to hearing from you soon.
Cary Ichter




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